           Case 1:18-mj-00317-JSA Document 1 Filed 03/30/18 Page 1 ofFI6LED IN C
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                                                                                              N.D.GEORGIA             -




                         UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION



IN THE MATTER OF                                )
                                                )
THE EXTRADITION OF                              )                Criminal Complaint
                                                )                No. 1: 18-MJ-3 17
HAMID CHEKAKRI                                  )                UNDER SEAL


                          COMPLAINT FOR PROVISIONAL ARREST
                           WITH A VIEW TOWARDS EXTRADITION
                                          ( 18 u.s.c. § 3 184)


        I, the undersigned Assistant United States Attorney, being duly sworn, state on


information and belief that the following is true and correct:


1.      In this matter, I represent the United States in fulfilling its treaty obligation to Canada.


2.      There is an extradition treaty in force between the United States and Canada, signed


December 3, 197 1, and which entered into force on March 22, 1976. The treaty was amended by


a Protocol signed on January 1 1, 1988, which entered into force on November 26, 199 1, and the


Second Protocol Amending the Extradition Treaty with Canada of January 12, 200 1, which


entered into force on April 30, 2003 (collectively referenced hereafter as the "Treaty").


3.      The Treaty provides in Article 1 1 for the provisional arrest and detention of alleged


fugitives pending the submission of a formal request for extradition and supporting documents.


4.      In accordance with Article 1 1 of the Treaty, the Government of Canada has asked the


United States for the provisional arrest of Hamid Chekakri ("CHEKAKRI"), with a view towards


his extradition.


5.      According to the information provided by the Government of Canada, CHEKAKRI was


charged with a total of eighteen ( 18) criminal charges, including the following: five counts of
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administering a stupefying or overpowering drug with intent to commit an indictable offense, in


violation of section 246 of the Criminal Code of Canada (the "CCC"); five counts of aggravated


assault, in violation of section 268 of the CCC; five counts of robbery, in violation of subsection


(1) of section   344 of the CCC; and three counts of breaking and entering a dwelling place with


the intent to commit an indictable offense, in violation of subsection (1) of section 348 of the


CCC.


6.     These offenses were committed within the jurisdiction of Canada. A Warrant of Arrest


was sworn on March 29, 2018 before Hon. Myriam Lachance, Judge of the Superior Court, in


the City of Montreal, Province of Quebec. The warrant was issued on the basis of the


information sworn by Sergeant Isabelle Moreau, Service de police de la Ville de Montreal


("SPVM").


7.     The warrant was issued on the basis of the following facts:


       Counts 1, 2, 3, and 4


       a.        On or about December I2, 20I7, CHEKAKRI telephoned a 72 year-old woman


       ("Victim-I"), who resides alone, and who had listed her residence in the City of Montreal


       for sale. Later that day, he arrived at the residence, with a bottle of wine and box of


       chocolates.


       b.        At the end of the visit, and purportedly to celebrate the sale of her residence,


       CHEKAKRI invited Victim-I to eat a chocolate, which he had brought, but she refused.


       CHEKAKRI then put a chocolate into Victim-1 's mouth.


       c.        Approximately   15   minutes later, Victim- I started feeling dizzy and lost


       consciousness. She awoke in her bed approximately          15   hours later, still wearing the


       clothes she wore when CHEKAKRI visited. Victim-I felt ill, and was taken to the
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hospital, where the police were contacted.


d.      When Victim-I returned to her residence, she discovered that a sum of money,


jewelry, a cellular telephone, two computers and a stamp collection were missing.


Victim-I provided the telephone number from which CHEKAKRI had telephoned her,


and which the Montreal Police later tied to CHEKAKRI.


e.      On or about February 3, 2018, the SVPM showed Victim-I an eight-photo array,


which included a photograph taken from CHEKAKRI's official passport. Victim-I


positively identified CHEKAKRI as the man who had visited her residence and gave her


the chocolate.


Counts 5, 6, 7, 8, 9, 10 and 11


f.      On or about December 18, 2017, CHEKAKRI approached a 67-year-old woman


("Victim-3") outside the residence where she lives with her 76-year-old husband


("Victim-4"). He stated that he was there to visit the residence of a neighbour, which was


for sale. He returned later with a bottle of wine and box of chocolates.


g.      Victim-3 allowed CHEKAKRI to enter their home to view the residence, and she


and Victim-4 both ate chocolates that CHEKAKRI had brought.


h.      Victim-3 lost consciousness and awoke on December 20, 2017 at 8:00 a.m.,


completely dressed, on her bed atop the sheets. She had bruises on her head and lips.


Her husband (Victim-4) was unconscious on the floor.


i.      Victim-3 contacted the police, and she and Victim-4 were taken to the hospital. A


urine sample taken from Victim-3 tested positive for Clonazepam, a prescription anti­


depressant, which can cause loss of consciousness.
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J.      Victim-3 and Victim-4 reported that a jewel box, jewelry, personal documents


and a sum of money were missing from their residence. Victim-3 provided a physical


description, which matches the appearance of CHEKAKRI.


k.      The SVPM obtained video surveillance at a number of locations near the


residence of Victim-3 and Victim-4. CHEKAKRI was identified at several locations


nearby, including footage of him using a vehicle, which is known to have been rented by


CHEKAKRI using his own name, on November 22, 2017. The vehicle was located in


February 2018, abandoned at a bus station in the City of Toronto.


Counts 12, 13, 14, 15, 16, 17 and 18


1.      On or about December 21, 2017, CHEKAKRI approached a 67 year-old woman


("Victim-5") outside the residence she shares with her sister, age 72 ("Victim-6"), and


they had a short discussion. CHEKAKRI returned on December 22, 2017, and Victim-5


and Victim-6 allowed him into their residence.


m.      CHEKAKRI brought a bottle of wine and gift bag containing chocolate, which he


offered to the women. They both ate a piece of chocolate and lost consciousness.


n.      Victim-5 and Victim-6 awoke early on December 23, 2017, feeling confused.


They discovered that money, jewelry, and a coin collection were missing, and


subsequently contacted the police. Both Victim-5 and Victim-6 provided a physical


description, which matches the appearance of CHEKAKRI.


o.      Urine samples collected from both Victim-5 and Victim-6 tested positive for


Clonazeparn.


p.      The SVPM obtained video surveillance from various locations near the residence
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          ofVictim-5 and Victim-6. CHEKAKRI was recorded at a drugstore where he is seen


          purchasing chocolates and the gift bag, which was positively identified as that recovered


          from Victim-5 and Victim-6.


          q.      On December 26, 2017, the SVPM disseminated a notice to the public regarding


          the attacks on Victims 1 through 6.


8.        The offenses with which CHEKAKRI is charged are provided for in Article 2 ofthe


Treaty.


9.        According to records provided by the U.S. Customs Border Protection Agency, on


December 28, 2018, CHEKAKRI crossed into the United States, traveled to New York, and


boarded a flight to Morocco. CHEKAKRI is scheduled to enter the jurisdiction ofthis Court,


arriving on Delta Airlines Flight number 902 on March 31, 2018, at approximately 1 p.m.,


arriving from Costa Rica at Atlanta Hartsfield-Jackson International Airport.


10.       The Government ofCanada has represented that it will submit a formal request for


extradition supported by the documents specified in the Treaty, within the time required under


the Treaty.


11.       CHEKAKRI would be likely to flee ifhe learned ofthe existence ofa warrant for his


arrest.
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                   WHEREFORE, the undersigned requests that a warrant for the arrest of the afore-named


            person be issued in accordance with 18 U.S.C. § 3184 and the extradition treaty between the


            United States and Canada, and that this complaint and the warrant be placed under the seal of the


            Court, except as disclosure is needed for its execution, until such ti




            Sworn to before me and subscribed in my presence this 30th day of Ma




                                                                          J
                                                                          United States Magistrate Judge
